EXHIBIT 4
                               NOTICE OF TERMINATION
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                                                                                     J\JN 1 i 7.0'l.1


                                   "DOCTOR STRANGE"


To:   Marvel Entertainment, LLC                          Marvel Studios, LLC
      Marvel Worldwide, Inc.                             MVL Rights, LLC
      Marvel Property, Inc.                              MVL Development, LLC
      Marvel Characters, Inc.                            Marvel Characters, Inc.
      1290 Avenue of the Americas                        500 South Buena Vista Street
      New York, NY 10104                                 Burbank, CA 91521
      Attn: John Turitzin, Chief Counsel                 Attn: David Galluzzi, Chief Counsel
            Eli Bard, Deputy Chief Counsel

      The Walt Disney Company                            Marvel Animation Inc.
      500 South Buena Vista Street                       623 Circle Seven Drive
      Burbank, CA 91521                                  Glendale, CA 91201
      Attn: Alan Braverman, General Counsel              Attn: Legal Department




       PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

C.F.R. § 201.10, Patrick S. Ditko, Administrator of the Estate of Stephen J. Ditko, being the person

entitled to terminate copyright transfers pursuant to said statutory provisions, hereby terminates

all pre-January 1, 1978 exclusive or non-exclusive grants of the transfer or license of the renewal

copyright(s) in and to the five-page, penciled story (with a page/panel script), authored by Stephen

J. Oitko, and the illustrated comic book story based thereon entitled "Doctor Strange Master of

Black Magic! ," authored or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko), and published in

Strange Tales Vol. 1, No. 110, and sets forth in connection therewith the following:

        1.     The names and addresses of the grantees and/or successors in title whose rights are

being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500
South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

CA 91201. Pursuant to 3 7 C.F .R. § 201.10(d), service of this notice is being made by First Class

Mail, postage pre-paid to the above grantees or successors at the addresses shown.

        2.      The copyrighted work(s) (the "Work(s)") to which this Notice of Termination

applies are the five-page, penciled story (with a page/panel script), authored by Stephen J. Ditko,

and the illustrated comic book story based thereon entitled "Doctor Strange Master of Black
                                                                                                   1
Magic!," which was authored or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko), and the

Work(s) include all of the characters, story elements, and/or indicia appearing therein.2 The

Work(s) were published and embodied in Strange Tales Vol. 1, No. 110, which was registered

with the U.S. Copyright Office by Vista Publications, Inc. on April 9, 1963, under Copyright

Registration No. B34036, and renewed on December 27, 1991 , under Copyright Renewal

Registration No. RE0000559192.

         3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies is (are)

 made in that/those certain copyright assignment(s) on the back of the check(s) issued by Marvel


         1  This Notice of Tenn ination also applies to all material authored or co-authored by Stephen J.
 Ditko (in any and all medium(s), whenever created) that was reasonably associated with the Work(s) and
 was registered with the United States Copyright Office and/or published within the termination time
 window, as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice
 of Termination likewise includes any character, story element, or indicia reasonably associated with the
 Work(s) including, without limitation, Doctor Strange (a.k.a. Stephen Strange), Wong, the Ancient One
 (a.k.a. the Master, a.k.a. Yao), Nightmare, Crang and Dreamstalker. Every reasonable effort has been made
 to find and list herein all such material. Nevertheless, if any such material has been omitted, such omission
 is unintentional and involuntary, and this Notice also applies to each and every such omitted material.

         2 Pursuant to 37 C.F.R. § 201.1 0(b)(l)(iii), this Notice of Termination includes the name of at least
 one author of the Work(s) to which this Notice of Termination applies. The listing herein of any corporation
 as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
 any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
 admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
 any right or remedy that Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, may have, at
 law or in equity, with respect to the subject matter hereof, all of which is hereby expressly reserved.

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Entertainment, LLC's predecessor company to Stephen J. Ditko, regarding the above-listed
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Work(s), which was (were) dated on or about the time of the publication of such Work(s).

       4.       The effective date of termination shall be June 9, 2023.

       5.       Stephen J. Ditko died on June 29, 2018, with no surviving spouse, children or

grandchildren. Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, owns the

termination interest of Stephen J. Ditko pursuant to 17 U.S.C. § 304(c)(2)(D), and is the person

entitled to exercise the termination right as to the grant(s) identified herein. This Notice has been

signed by all persons needed to terminate said grant(s) under 17 U.S.C. § 304(c).


Dated: June 8, 2021                                  TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, California 90265
                                                      Tel: (310) 246-3333
                                                      As counsel for and on behalf of Patrick S. Ditko,
                                                      Administrator of the Estate of Stephen J. Ditko




         3This Notice of Termination also applies to each and every grant or alleged grant by Stephen J.
 Ditko of rights under copyright in and to the Work(s) that falls within the applicable termination time
 window (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every
 reasonable effort has been made to find and list herein every such grant and/or transfer. Nevertheless, if any
 such grant and/or transfer has been omitted, such omission is unintentional and involuntary, and this Notice
 of Termination applies as well to each and every such omitted grant and/or transfer.
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